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UNITED STATES DISTRICT COURT                                         DOC #:
SOUTHERN DISTRICT OF NEW YORK                                        DATE FILED: 10/19/2020
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  FAHRUELDIN EBED,                                              :
                                                                :
                                              Plaintiff,        :
                                                                :
                            -against-                           :   19-cv-11068 (VEC)
                                                                :
 MOUNT SINAI ST. LUKE’S HOSPITAL,                               :       ORDER
 RIGHTSOURCING, INC., AMN ALLIED                                :
 SERVICES, LLC D/B/A/ MED TRAVELERS,                            :
                                                                :
                                              Defendants. :
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VALERIE CAPRONI, United States District Judge:

        WHEREAS on October 19, 2020, the parties appeared for a teleconference to discuss

various discovery disputes in this case;

        IT IS HEREBY ORDERED THAT:

        1. With respect to Defendant AMN’s Document Request 8, Plaintiff is directed to

             produce his earnings information spanning from 2015 to present no later than

             October 23, 2020.

        2. With respect to Defendant AMN’s Document Requests 29 and 30, Plaintiff is ordered

             to provide records of his travel to and from Oregon from December 2018 to January

             2019 no later than October 23, 2020.

        3. In light of the issues resolved during the meet-and-confer and the teleconference with

             the Court, Plaintiff is directed to submit revised responses to Defendants’ Document

             Requests and Interrogatories no later than October 23, 2020.

        4. Rightsourcing’s letter brief regarding its Document Requests 44 and 45 and AMN’s

             letter brief regarding its Document Request 22 are due by October 23, 2020; each
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        Defendant is limited to three pages. Plaintiffs’ opposition, which may be filed as one

        six-page opposition or two three-page oppositions, is due by October 30, 2020.

        Defendants’ replies are due by November 3, 2020 and are limited to two pages each.

     5. Plaintiff’s deposition must be taken during the week of November 2, 2020 or in a

        different week if mutually agreed by the parties. Defendants’ depositions may be

        scheduled for some time thereafter.

     6. The parties’ deadline to complete all fact discovery remains December 4, 2020.



SO ORDERED.

                                                     ________________________
Date: October 19, 2020                                  VALERIE CAPRONI
      New York, New York                              United States District Judge




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